Case 2:09-cv-05309-MKB-GRB Document 77 Filed 02/27/15 Page 1 of 3 PageID #: 3094



  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------
  CHRISTOPHER CAMAC, and TONI LYNN
  CAMAC, both individually and on behalf of their
  son, C.T.C., an infant under 17 years of age,                     MEMORANDUM & ORDER
                                                                    09-CV-5309 (MKB)
                                      Plaintiffs,

                             v.

  THE LONG BEACH CITY SCHOOL DISTRICT,
  DR. ROBERT GREENBERG, individually and in
  his official capacity, AUDREY GOROPEUSCHEK,
  individually and in her official capacity, and AMA
  DARKEH, individually and in her official capacity,

                                      Defendants.
  ---------------------------------------------------------------
  MARGO K. BRODIE, United States District Judge:

           Plaintiffs Christopher Camac and Toni Lynn Camac commenced the above-captioned

  action on behalf of themselves and their infant son, C.T.C., on December 4, 2009, against

  Defendants the Long Beach City School District, Dr. Robert Greenberg, Audrey Goropeuscheck,

  and Ama Darkeh, alleging violations of Plaintiffs’ constitutional rights under 42 U.S.C. § 1983.

  Plaintiffs also asserted violations of their rights under Section 504 of the Rehabilitation Act of

  1973, 29 U.S.C. § 794, et seq. (the “Rehabilitation Act”), Title III of the Americans with

  Disabilities Act, 42 U.S.C. § 12182, et seq. (the “ADA”), various articles of the New York State

  Constitution, New York State Human Rights Law, Executive Law § 290, et seq. (the

  “NYSHRL”), and New York State common law. (Docket Entry No. 1) Plaintiffs alleged that

  Defendants called 911 and falsely reported that C.T.C. had threatened to commit suicide at

  school, and, as a result, C.T.C. was removed from school, taken by the police and paramedics to

  Nassau University Medical Center (“NUMC”) and held at NUMC for fourteen days. (Id.)
Case 2:09-cv-05309-MKB-GRB Document 77 Filed 02/27/15 Page 2 of 3 PageID #: 3095



  Defendants moved to dismiss the Complaint, and on July 22, 2011, Judge Denis R. Hurley 1

  granted in part and denied in part Defendants’ motion to dismiss the Complaint pursuant to Rule

  12(b)(6) of the Federal Rules of Civil Procedure. 2 (Docket Entry No. 15 (“Motion to Dismiss

  Order”).)

         Defendants later moved for summary judgment pursuant to Rule 56(c) of the Federal

  Rules of Civil Procedure, (Docket Entry No. 64), and on October 10, 2014, the Court referred the

  motion to Magistrate Judge Gary R. Brown for a report and recommendation. By Report and

  Recommendation issued February 3, 2015, (“R&R”), Judge Brown recommended that the Court

  grant Defendants’ motion in its entirety. (Docket Entry No. 75.) No objections to the R&R were

  filed by the February 18, 2015 deadline. (See id. (“Objections to R&R due by 2/18/2015.”)) For

  the reasons set forth below, the Court adopts the R&R and grants Defendants’ motion for

  summary judgment.

         A district court reviewing a magistrate judge’s recommended ruling “may accept, reject,

  or modify, in whole or in part, the findings or recommendations made by the magistrate judge.”

  28 U.S.C. § 636(b)(1)(C). “Failure to object to a magistrate judge’s report and recommendation



         1
              This action was transferred to the undersigned on March 23, 2012.
         2
           In the July 22, 2011 Motion to Dismiss Order, Judge Hurley denied Defendants’
  motion to dismiss as to (1) Plaintiffs’ Fourth Amendment seizure claim brought on behalf of
  C.T.C., and (2) Plaintiffs’ Fourteenth Amendment substantive due process claim, brought by
  Christopher Camac and Toni Lynn Camac on their own behalf, to the extent both of those claims
  were brought pursuant to Section 1983 against Defendants Goropeuschek and Darkeh in their
  individual capacities. (Motion to Dismiss Order 39.) Judge Hurley also denied Defendants’
  motion to dismiss as to (1) Plaintiffs’ ADA and Rehabilitation Act retaliation claims; (2) the
  New York State law false imprisonment claim brought on behalf of C.T.C.; and (3) Plaintiffs’
  claims under sections 296(6) and 296(7) of the NYSHRL. (Id.) Judge Hurley granted
  Defendants’ motion to dismiss as to all other claims. (Id. at 38–39.) In opposition to the motion
  for summary judgment, Plaintiffs voluntarily withdrew their NYSHRL claims. (Pl. Mem. in
  Opp’n to Defs. Mot. for Summary Judgment (“Pl. Opp’n Mem.”) 24.)


                                                   2
Case 2:09-cv-05309-MKB-GRB Document 77 Filed 02/27/15 Page 3 of 3 PageID #: 3096



  within the prescribed time limit ‘may operate as a waiver of any further judicial review of the

  decision, as long as the parties receive clear notice of the consequences of their failure to

  object.’” Sepe v. New York State Ins. Fund, 466 F. App’x 49, 50 (2d Cir. 2012) (quoting United

  States v. Male Juvenile, 121 F.3d 34, 38 (2d Cir. 1997)); see also Almonte v. Suffolk Cnty., 531

  F. App’x 107, 109 (2d Cir. 2013) (“As a rule, a party’s failure to object to any purported error or

  omission in a magistrate judge’s report waives further judicial review of the point.” (quoting

  Cephas v. Nash, 328 F.3d 98, 107 (2d Cir. 2003))); Wagner & Wagner, LLP v. Atkinson,

  Haskins, Nellis, Brittingham, Gladd & Carwile, P.C., 596 F.3d 84, 92 (2d Cir. 2010) (“[A] party

  waives appellate review of a decision in a magistrate judge’s Report and Recommendation if the

  party fails to file timely objections designating the particular issue.”).

          The Court has reviewed the unopposed R&R, and, finding no clear error, the Court

  adopts Judge Brown’s R&R in its entirety pursuant to 28 U.S.C. § 636(b)(1). For the foregoing

  reasons, the Court grants Defendants’ motion for summary judgment as to all claims. The Clerk

  of the Court is directed to close this case.

                                                          SO ORDERED:



                                                                 s/ MKB
                                                          MARGO K. BRODIE
                                                          United States District Judge

  Dated: February 27, 2015
         Brooklyn, New York




                                                     3
